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UNITED sTATEs DISTRICT CoURT F“"“"J m MD-C'
WESTERN DISTRICT OF TENNESSEE

Western Division 05 JUL _| PH l*‘ 22

  
    
  

UNITED sTATEs oF AMERICA CU:-R<‘ 919 m
WDC =»._MPH|S
-vs- Case No. 2:05c 20216-D

TERRANCE LEONARD

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUS'I`ICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

' All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this / day of July, 2005.

/@am z &M»

DIANE K. VESCOVO
UNITED STATES MAGISTRATE .TUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Offlce

Assistant Federal Public Defender
Intake

TERRANCE LEONARD

This document entered on the docket sheet ln compliance
with Hula 55 and/or 32(b) FRCrP on ”

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UNITED STAS,TE DISTRICT COURT - WE"RNT DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20225 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

